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 6
                                       UNITED STATES DISTRICT COURT
 7

 8                                                DISTRICT OF NEVADA

 9
     ALICE PETE,                                     Case No. 2:19-cv-00309-JCM-CWH
10
                                     Plaintiff,      JOINT STIPULATION TO TRANSFER VENUE TO
11           v.                                      THE UNITED STATES DISTRICT COURT FOR THE
                                                     WESTERN DISTRICT OF TEXAS, SAN ANTONIO
12                                                   DIVISION
     USAA SAVINGS BANK,
13
                                     Defendant.
14

15           Plaintiff Alice Pete (“Plaintiff”) and Defendant USAA Savings Bank (“USAA SB”), by and through
16   their undersigned counsel and pursuant to 28 U.S.C. § 1404, hereby stipulate and agree, subject to Court
17   approval, to transfer the above-captioned case to the United States District Court for the Western District
18   of Texas, San Antonio Division. In support of this stipulation, the Parties state as follows:
19           1.     Plaintiff filed this action on February 20, 2019 in the United States District Court for the
20   District of Nevada. (Doc. 1).
21           2.     USAA SB’s deadline to answer or otherwise respond to the Complaint was March 15, 2019.
22           3.     Since the Complaint was filed, the Parties have met and conferred regarding the proper
23   venue for this action and have agreed to stipulate to the transfer of the matter to the United States District
24   Court for the Western District of Texas, San Antonio Division. Specifically, the parties discussed that the
25   Complaint’s described events largely concern USAA Federal Savings Bank (“USAA FSB”). USAA FSB
26   has its principal place of business in San Antonio, Texas, Plaintiff resides in El Paso, Texas, and none of
27   the allegations giving rise to this case occurred in Nevada, regardless that the allegations additionally
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 1   concern USAA Savings Bank, a Nevada corporation with its principal place of business in Las Vegas,

 2   Nevada. Thus, the US District Court for the Western District of Texas is the Court with a proper and

 3   convenient venue to adjudicate this matter.

 4            4.    Plaintiff agrees to the substitution of Defendant USAA Savings Bank by USAA SB’s parent

 5   company USAA Federal Savings Bank.

 6            5.    To allow this matter to be transferred, the Parties stipulate that the answer will be due two

 7   weeks after the court enters this order.

 8            NOW THEREFORE, the Parties hereby STIPULATE and AGREE subject to court approval, that

 9   the entire action be transferred to the Western District of Texas, San Antonio Division, and (ii) USAA

10   FSB’s deadline to respond to Plaintiff’s Complaint is extended until two weeks after the court enters this

11   order.

12    Respectfully submitted this 8th day of July, 2019,       Respectfully submitted this 8th day of July, 2019,
13    WILSON, ELSER, MOSKOWITZ,                                HIGBEE & ASSOCIATES
      EDELMAN & DICKER, LLP
14
      /s/ Sheri M. Thome                                       /s/ Mathew Higbee
15    SHERI M. THOME                                           MATHEW HIGBEE
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      Attorney for Defendant USAA Savings Bank                 Attorney for Plaintiff
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19

20            IT IS SO ORDERED:
21
                                                           ________________________________
22                                                         UNITED STATES DISTRICT JUDGE

23                     July 9, 2019
              DATED: _____________________________
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